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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

MERRY OAKS, LLC,             §
                             §
Plaintiff                    §
                             §
v.                           §                         CIVIL ACTION NO.
                             §                         5:21-cv-00554-FB-HJB
                             §
PELEUS INSURANCE COMPANY     §
and CLEARVIEW RISK INSURANCE §
PROGRAMS, LLC d/b/a STRATA   §
UNDERWRITING MANAGERS,       §
                             §
Defendants                   §

            ALTERNATIVE DISPUTE RESOLUTION (ADR) REPORT

       Plaintiff, Merry Oaks, LLC and Defendants, Peleus Insurance Company and

Clearview Risk Insurance Programs, LLC d/b/a Strata Underwriting Managers

(Collectively “The Parties”), pursuant to the Court’s Scheduling Order (Dkt. 16) and in

accordance with Local Rule CV-88, file this Alternative Dispute Resolution Report,

respectfully showing the Court as follows:

                 INFORMATION REQUIRED BY RULE CV-88(b)

1.     Status of Settlement Negotiations:

       The Parties have conferred regarding possibility of negotiation and early

resolution of this matter.

2.     Identity of the person responsible for settlement negotiations:

       A. For Plaintiff:
          Robert W. Loree and Cassandra Pruski

       B. For Defendant:
          James W. Holbrook, III and Crystal L. Vogt




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3.    Whether alternative dispute resolution is appropriate in this case:

      The Parties agree that mediation is the appropriate method of ADR for this case.

4.    Timing for alternative dispute resolution:

       The Parties believe that mediation would provide a forum to attempt meaningful
efforts to accomplish resolution of this case at the appropriate time. The parties have
agreed to mediate this case with San Antonio mediator, Richard Sparr on or before
February 1, 2022. The mediator’s fee will be split equally between the Parties.

                                              Respectfully submitted,

                                              LOREE & LIPSCOMB

                                              By: /s/ Cassandra Pruski
                                                  Robert W. Loree
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                                                    COUNSEL FOR PLAINTIFF

                                              -AND-

                                              ZELLE LLP

                                              By: /s/ James W. Holbrook, III
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                                                    COUNSEL FOR DEFENDANT


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                            CERTIFICATE OF SERVICE

       I hereby certify that Plaintiff has served a true and correct copy of the foregoing
document on November 2, 2021 via the Court’s electronic filing system, in accordance
with the Federal Rule of Civil Procedures.


                                                       /s/ Cassandra Pruski
                                                       Cassandra Pruski




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